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                     Exhibit G
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                                "text": "And in the simplest way to think about it,
            it\u2019s just too much negative energy"
                            }
                        ]
                    },
                    {
                        "id": "b90ca157-76a5-4e37-9635-aacf67730623",

                        "type": "message",
                        "timestamp": "2023-01-06T05:20:32.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "like who even wants to\r\n Think or talk
            about this anymore"
                            }
                        ]
                    },
                    {
                        "id": "9b65ebe9-b4bf-4ab4-86f0-322d266721a4",

                          "type": "message",
                          "timestamp": "2023-01-06T05:20:48.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Yeah facts. It blows cocks"
                              }
                          ]
                     },
                     {
                          "id": "81ae87fb-05e6-4699-8994-3c5965549f04",

                          "type": "message",
                          "timestamp": "2023-01-06T05:20:48.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Than*"
                              }
                          ]
                     },
                     {
                          "id": "4a11440b-4a29-4a81-9b43-1d232995692e",

                          "type": "message",
                          "timestamp": "2023-01-06T05:20:51.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "But it never ends"
                              }
                          ]
                     },




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                     {
                          "id": "ff966e5f-b99f-40d4-b2a1-b734bad1ccf3",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:00.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Zilla will pay, one way or another"
                              }
                          ]
                     },
                     {
                          "id": "89685dfe-7b52-4c25-ba67-0c0e4abdbe08",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:02.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "I\u2019ll make sure of it"
                              }
                          ]
                     },
                     {
                          "id": "250d4207-2554-4daa-971e-33ea30d9146d",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:04.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Logan paul can ignore 20% disruption"
                              }
                          ]
                     },
                     {
                          "id": "4da89959-1920-4c09-940d-37acdc9595f5",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:11.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Can not ignore 80% disruption"
                              }
                          ]
                     },
                     {
                          "id": "1522abaa-21ee-4f9f-9e61-d2fcbf0d88c3",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:21.000",
                          "deleted": false,




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